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FOR THE NORTHERN DISTRICT OF T :

FORT WORTH DIVISION
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UNITED STATES OF AMERICA CLERK. US. DISTRICT COURT

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Vv. No. ;

WILLIE CLAYTON DAVIDSON (01)

CRIMINAL COMPLAINT

 

Alleged Offense:

Beginning in or before January 2018 and continuing until in or around March
2018, in the Fort Worth Division of the Northern District of Texas, and elsewhere,
defendant Willie Clayton Davidson, along with others known and unknown, did
knowingly and intentionally combine, conspire, confederate, and agree to engage in
conduct in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B), namely to possess with
intent to distribute 50 grams or more of a mixture and substance containing a detectable
amount of methamphetamine, a Schedule IH controlled substance, in violation of 21
U.S.C. § 846 (21 U.S.C. §§ 841(a)(1) and (b)(1)(B).

Probable Cause:
I, the undersigned Complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief:

1. I am a Task Force Officer with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (ATF).
2. I have participated in and am familiar with this investigation through interviews,

surveillance, and police reports.

3. This affidavit is submitted in support of an application for a criminal complaint.

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4, On January 16, 2018, Burleson Police Department officers in a marked patrol unit
conducted a traffic stop of a vehicle driven by Willie Clayton Davidson, who was the
sole occupant. Upon approaching the vehicle, a police officer smelled the odor of
marijuana emitting from the vehicle. The police officer conducted a probable cause
search of the vehicle and located 20 grams of methamphetamine in the trunk. Davidson
spontaneously stated, “I forgot about that,” indicating his acknowledgement that the
methamphetamine was his. Police officers also located a large sum of U.S. currency
bundled in small denominations indicative of drug trafficking.

5, On January 17, 2018, Burleson Police Department interviewed a cooperating
defendant (CD), who identified Davidson as a source of supply for methamphetamine.
CD observed Davidson with large sums of U.S. currency and stated his belief that
Davidson is a supplier of large quantities of methamphetamine.

6. On March 15, 2018, ATF and Texas DPS Agents conducted a proffer interview of
K.D. who identified Davidson as a source of supply for large quantities of
methamphetamine. In January 2018, K.D. purchased over 2,000 grams of
methamphetamine from Davidson in a 2-week period. Based on the foregoing, the
undersigned Complainant respectfully submits that there is probable cause to believe that
Willie Clayton Davidson, along with others both known and unknown, did knowingly
and intentionally combine, conspire, confederate, and agree to engage in conduct in

violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B),

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namely to distribute and to possess with intent to distribute more than 50 grams of a

mixture and substance containing a detectable amount of methamphetamine, in violation

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Samuel Dendy ¢ ©

Task Force Officer

Bureau of Alcohol, Tobacco, Firearms
and Explosives

of 21 U.S.C. § 846.

SWORN AND SUBSCRIBED before me, at [!{@ am/pm) this \3_day of

NY > Qtemtey __, 2018, in Fort Worth, Texas.

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L. CURETON
UnivedStates Magistrate Judge

 

  

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